Case 22-11068-JTD   Doc 1706-2    Filed 06/26/23   Page 1 of 2




                         Exhibit 2
        Other Foreign Bank Operating Account Listing
               Case 22-11068-JTD                Doc 1706-2      Filed 06/26/23             Page 2 of 2



                                                                                                         Last Four Digits of
                      Debtor Name                                             Bank                       Account Number
Alameda Research KK                                  SBI                                                         4783
Alameda Research KK                                  Sumitomo Mitsui Banking Corporation                         8851
Cottonwood Grove Ltd.                                HSBC Bank                                                   3838
FTX Crypto Services Ltd.                             Klarpay                                                     0065
FTX Crypto Services Ltd.                             Klarpay                                                     0517
FTX Digital Assets LLC                               Signature Bank                                              7717
FTX Digital Holdings (Singapore) Pte Ltd             DBS                                                         4931
FTX EU Ltd                                           Bank of Cyprus                                              3219
FTX EU Ltd                                           Bank of Cyprus                                              3308
FTX EU Ltd                                           Bank of Cyprus                                              5961
FTX EU Ltd                                           Bank of Cyprus                                              7240
FTX EU Ltd                                           Bank of Cyprus                                              9920
FTX EU Ltd                                           Bank of Cyprus                                              9981
FTX EU Ltd                                           Eurobank                                                    0456
FTX EU Ltd                                           Eurobank                                                    0464
FTX EU Ltd                                           Eurobank                                                    5340
FTX Europe AG                                        Klarpay                                                     0014
FTX Europe AG                                        Klarpay                                                     0016
FTX Europe AG                                        Maerki Baumann & Co. AG                                     0001
FTX Europe AG                                        Maerki Baumann & Co. AG                                     1814
FTX Europe AG                                        Maerki Baumann & Co. AG                                     2333
FTX Exchange FZE                                     Commercial Bank of Dubai                                    2037
FTX Exchange FZE                                     Commercial Bank of Dubai                                    2891
FTX Exchange FZE                                     Commercial Bank of Dubai                                    2909
FTX Exchange FZE                                     Emirate NBD Bank                                            2601
FTX Exchange FZE                                     Emirate NBD Bank                                            2602
FTX Exchange FZE                                     Klarpay                                                     0051
FTX Exchange FZE                                     Klarpay                                                     0059
FTX Exchange FZE                                     Zand Bank                                                   6501
FTX Switzerland GmbH                                 Klarpay                                                     0012
FTX Switzerland GmbH                                 Klarpay                                                     0014
FTX Trading GmbH                                     Klarpay                                                     0013
FTX Trading GmbH                                     Klarpay                                                     0015
FTX Trading GmbH                                     Volksbank Bayern Mitte eG                                   1672
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        AKBANK                                                      3390
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        AKBANK                                                      3397
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        AKBANK                                                      3454
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        AKBANK                                                      9236
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Fibabanka                                                   4958
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Fibabanka                                                   8852
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Fibabanka                                                   8860
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Fibabanka                                                   8868
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Garanti BBVA                                                3954
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Garanti BBVA                                                3955
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Garanti BBVA                                                4254
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Siraat Banksai                                              5002
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Siraat Banksai                                              5003
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Siraat Banksai                                              5004
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Siraat Banksai                                              5005
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Siraat Banksai                                              5006
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Siraat Banksai                                              5007
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Siraat Banksai                                              5009
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   1789
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   5817
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   6563
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   6576
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   7310
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   8840
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   9808
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET        Vakifbank                                                   9860
Innovatia Ltd                                        Turicum                                                     2978
Zubr Exchange Ltd                                    Turicum                                                     3826
Zubr Exchange Ltd                                    Turicum                                                     3978
